 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA

V.                                                 CR 218-14


EDRIN TEMPLE




                               PLEA AGREEMENT


      Defendant, Edrin Temple, represented by his counsel Whitney Johnson, Esq.,

and the United States of America, represented by Assistant United States Attorney

Matthew Josephson, have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows.

1.    Guilty Plea

      Defendant agrees to enter a plea of guilty to Count 19, Possession with Intent

to Distribute a Quantity of Cocaine, in violation of 21 U.S.C. § 841(a)(1). At

sentencing, the government will move to dismiss all remaining counts against

Defendant.

2.    Elements and Factual Basis

      The elements necessary to prove the offense of Count 19 are as follows:

      FIRST:        The Defendant knowingly possessed cocaine, a schedule II
                    controlled substance;

      SECOND:       The Defendant intended to distribute the cocaine.




                                                                                       u;^
  Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 2 of 13




      Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each ofthe offense's required elements:

      On or about July 20, 2017, in Mclntosh County, within the Southern District

of Georgia,the defendant,EDRIN TEMPLE,a/k/a"Pete McCiver," did knowingly and

intentionally possess a quantity of cocaine, a Schedule II controlled substance, with

the intent to distribute. AU in violation of Title 21, United States Code, Section

841(a)(1).

3.    Possible Sentence

      Defendant's guilty plea to the offense of Count 19 will subject him to the

following maximum possible sentence:        20 years of imprisonment, 3 years of

supervised release, a $1,000,000 fine, such restitution as may be ordered by the

Court, and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment per count ofconviction.

4.    No Promised Sentence

      No one has promised Defendant that the Court wiU impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant wiU not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    Court's Use of Guidelines
 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 3 of 13




        The Court is obligated to use the United States Sentencing Guidehnes to

calculate the apphcable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidehnes are based on aU of

Defendant's relevant conduct, pursuant to U.S.S.G. § IB1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.      Agreements Regarding Sentencing Guidehnes

        a.      Acceptance of Resnonsibihtv

        The government wiU not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibihty pursuant to Section 3E1.1(a) ofthe Sentencing Guidehnes. Ifthe U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibihty, the government whl

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.      Use ofInformation

        The government is fi:ee to provide fuU and accurate information to the Court

and U.S. Probation Office for use in calculating the apphcable Sentencing Guidehnes

range.       Any incriminating information provided by the defendant during his




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 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 4 of 13




cooperation will not be used in determining the applicable Guidelines range,

pursuant to U.S.S.G. § IB1.8.

      c.     Quantity of Drugs

      The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that, for purposes of Section 2D1.1 of the

Sentencing Guidehnes, the offense involved at least 500 grams but less than 2

kilograms of cocaine.

7.    Dismissal of Other Counts

      At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.    21 U.S.C. S 851 Enhancement

      The government agrees not to file a Title 21, Section 851,enhancement against

the defendant, if applicable. If filed, the government wiU dismiss at sentencing.

9.    Cooperation

      a.     Complete and Truthful Cooperation Required

      Defendant must provide fiiU, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any

related offenses. Defendant shall fuUy and truthfully disclose his knowledge of those

offenses and shall fuUy and truthfully answer any question put to him by law

enforcement officers about those offenses.

      This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his
  Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 5 of 13




cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation

      The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as"substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, wiU decide whether, and to what extent, Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

10.   Financial Obfieations and Agreements

      a.      Restitution


      The amount ofrestitution ordered by the Court shaU include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not Umited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and wiU survive Defendant, notwithstanding the abatement of any

underlsdng criminal conviction.

      b.      Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      c.      Reouired Financial Disclosures




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  Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 6 of 13




        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form hsting aU his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of pei^ury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination

        Defendant wiU submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances




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  Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 7 of 13




      Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing,

      g.     Enforcement

      Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to coUect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obHgations imposed by the judgment ofthe

Court in this case wiU be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and apphed to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

11.   Waivers


      a.     Waiver of Anneal

      Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope ofthe statute). The only exceptions are that the Defendant may

file a direct appeal ofhis sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidefines

range found to apply by the court at sentencing; or (3) the Government appeals the




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  Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 8 of 13




sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver

      Defendant waives aU rights, whether asserted directly or through a

representative, to request or receive firom any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C.§ 552a, and all subsequent amendments thereto.

      d.     Fed. R. Crim. P. IKfi and Fed. R. Evid. 410 Waiver

      Rule 11(0 of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, aU of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

12.   Defendant's Rights




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 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 9 of 13




      Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

13.   Satisfaction with Counsel

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented him faithfiiUy, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

14.   Breach ofPlea Agreement

      Defendant breaches this agreement if, prior to sentencing in his case, he fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw his guilty plea, refuses to accept responsibility for his criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If

Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation ofthe advisory Sentencing Guidehnes or

the appropriate sentence. Additionally, such a breach by the defendant will be a

breach of his cooperation agreement, thereby allowing the government to use all

otherwise proffer-protected information at sentencing. In addition, the government




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 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 10 of 13




may (1) declare the plea agreement null and void,(2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or (3) file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-Umitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

15.   Entire Agreement

      This agreement contains the entire agreement between the government and

Defendant.




                           Signatures on following page




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   Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 11 of 13



                                 BOBBY L. CHRISTINE
                                 UNITED STATife ATTQ]




Date                              >rian T. Rffierty^
                                 New York Bar No. 2809440
                                 Chief, Criminal Division




Date                             Matthew A. Josephson
                                 Georgia Bar. No. 367216
                                 Assistant United States Attorney




                                   11
 Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 12 of 13




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date    /                               Edrin Temple, Defendant


       I have fuUy explained to Defendant aU of his rights, and I have carefully

reviewed each and every part ofthis agreement with him. I believe that he hilly and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




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Date '                                  Whitney Joh
                                        Defendant's




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Case 2:18-cr-00014-LGW-BWC Document 558 Filed 01/15/19 Page 13 of 13




                        inVTTED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


UNITED STATES OF AMERICA

       V.                                                   CR218-14


EDRIN TEMPLE


                                         ORDER


       The aforesaid Plea Agreement, having been considered by the Court in conjunction with

the interrogation by the Court of the defendant and the defendant's attorney at a hearing on the

defendant's motion to change his plea and the Court finding that the plea of guilty is made

freely, volimtarily and knowingly, it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted and the

foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



       This 1^ day of


                                               iBLE LISA GODBEY                    DGE
                                               STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
